                         Case 3:23-mj-03661-MAT                           Document 2               Filed 11/21/23   Page 1 of 2
(W.D.T.X. Ref: 245H)(Rev. 01/05) - Judgement in a Criminal Case for a Petty Offense (Short Form)




                                      UNITED STATES DISTRICT COURT                                                                 FILED
                                                                                                                                 11/21/2023
                                                       WESTERN DISTRICT OF TEXAS                                          Clerk, U.S. District Court
                                                           EL PASO DIVISION                                               Western District of Texas


                                                                                                                    By:             FM
                                                                                                                                   Deputy




UNITED STATES OF AMERICA                                                               §
                                                                                       § CASE NUMBER: EP:23-M -03661(1) - MAT
vs.                                                                                    § USM Number:
                                                                                       §
(1) MIGUEL ANGEL COLINA-CASERES                                                        §

                 Defendant.

                                                         JUDGMENT IN A CRIMINAL CASE
                                                         (For A Petty Offense) - Short Form

                 The defendant, Miguel Angel Colina-Caseres, was represented by counsel, Sara E. Priddy.

          The defendant pled guilty to the complaint on November 21, 2023. Accordingly, the defendant is
adjudged guilty of the following offense(s):

Title & Section                            Nature of Offense                                                        Date of Offense

8 USC 1325(a)(1)                           IMPROPER ENTRY BY AN ALIEN                                               November 07, 2023


            As pronounced on November 21, 2023, the defendant is hereby committed to the custody of the
United States Bureau of Prisons for a term of Time Served. The defendant shall remain in custody pending
service of sentence.

           The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remitted pursuant to
18 U.S.C. § 3573 because reasonable efforts to collect this assessment are not likely to be effective.

                 Signed this the 21st day of November, 2023.




                                                                                                        ______________________________
                                                                                                        MIGUEL A. TORRES
                                                                                                        UNITED STATES MAGISTRATE JUDGE
        Case 3:23-mj-03661-MAT               Document 2     Filed 11/21/23         Page 2 of 2
                MISDEMEANOR ARRAIGNMENT/PLEA AND SENTENCING
               UNITED STATES MAGISTRATE JUDGE, MIGUEL A. TORRES
                          WESTERN DISTRICT OF TEXAS
                               EL PASO - DIVISION

DATE : 11/21/2023                                      AUSA : Micaela Glass

CASE # : EP:23-M -03661(1)MAT                          CRD : Fidel Morales

TIME : 0 Minutes: 2:22 pm - 2:56 pm                 INTERPRETER: YES - Spanish - B. Espinosa
                                        ELECTRONIC RECORDING
Defendant's Name :                                  Attorney for Defendant :


#1 Miguel Angel Colina-Caseres                     #1 [CJA] Sara E. Priddy

     PROCEEDINGS                                       DFT NO. :      1        2         3        4

X    Misdemeanor arraignment held                                     X
     Defendant appears with counsel

     Misdemeanor arraignment continued:

X    Defendant entered plea of GUILTY            COMPLAINT            X

     Defendant entered plea of NOT GUILTY

     Bench trial set

X    ORAL/Consent to Magistrate jurisdiction                          X

X    Court accepts guilty plea                                        X

X    Sentencing held                                                  X

        (1)    term of imprisonment: Time served

        (2)    term of probation :    -0-



        (3)    fine:                  $-0-


        (4)    special assessment :   $10.00                  REMITTED X NOT REMITTED

     Sentencing set:

X    Judgment and commitment entered                                  X

     Felony complaint dismissed

OTHER : Oral waiver of detention. Oral motion by the government to remit $10.00 S/A. Oral order
granting motion by the court.
